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                                               UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION




                 IN RE: FACEBOOK, INC. CONSUMER                      CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
                                                                     MEMORANDUM OF LAW IN SUPPORT
                                                                     OF MOTION OF DEFENDANT
                 This document relates to:                           FACEBOOK, INC. TO CERTIFY ORDER
                                                                     FOR INTERLOCUTORY APPEAL
                 ALL ACTIONS                                         PURSUANT TO 28 U.S.C. § 1292(B)

                                                                     Judge: Hon. Vince Chhabria
                                                                     Courtroom 4, 17th Floor
                                                                     Hearing Date: November 14, 2019
                                                                     Hearing Time: 10:00 a.m.




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                                                        I.     INTRODUCTION

                        In its ruling on Facebook’s motion to dismiss, this Court held that Plaintiffs did not sufficiently

                 allege they suffered any economic harm or other tangible injury (Op. at 13), that the sharing of

                 Plaintiffs’ information did not plausibly result in a meaningfully heightened risk of identity theft (id.),

                 and that Plaintiffs consented to their friends sharing their Facebook information with certain third

                 parties, including “games, applications, and websites” (id. at 25-26). Despite these rulings the Court

                 determined that Plaintiffs adequately alleged “a simple ‘privacy injury’” (id. at 13) arising from the

                 mere disclosure of certain information to other third parties, and that this “privacy injury” “gives rise

                 to Article III standing” “without [any] further consequences” (id. at 14).

                        Facebook respectfully requests that the Court certify its Article III standing analysis for

                 interlocutory review under 28 U.S.C. § 1292(b). The question whether alleged data privacy violations

                 give rise to Article III standing is an evolving issue of increasing importance that already has drawn

                 considerable attention from the nation’s appellate courts, including the U.S. Supreme Court. See Frank

                 v. Gaos, 139 S. Ct. 1041, 1046 (2019) (remanding case involving settlement of claims that Google

                 disclosed plaintiffs’ search terms without consent in light of uncertainty regarding plaintiffs’ Article

                 III standing); Robins v. Spokeo, Inc., 867 F.3d 1108, 1112 (9th Cir. 2017) (Spokeo II) (noting that

                 determining whether “intangible injuries . . . may be sufficient for Article III standing” is a “somewhat

                 murky area”). And this Court’s decision—that plaintiffs have standing to sue based on the alleged

                 sharing of information that they shared on Facebook’s platform, even in the absence of any further real-

                 world consequences—stands in tension with decisions of the Supreme Court, the Ninth Circuit, other

                 circuit courts, and other cases in this district. Because there is a serious threshold question about

                 Plaintiffs’ standing to sue, the Ninth Circuit should have an opportunity to address that question before

                 the parties undertake “protracted and expensive” litigation over the Plaintiffs’ claims in this nationwide

                 MDL. See In re Cement Antitrust Litig., 673 F.2d 1020, 1026-27 (9th Cir. 1981).

                                                      II.     LEGAL STANDARD

                        Certification of a non-final order for interlocutory appeal is appropriate where (i) an order

                 involves a controlling question of law; (ii) there is a substantial ground for difference of opinion; and

                 (iii) an immediate appeal may materially advance the termination of the litigation. 28 U.S.C. § 1292(b);

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                 Reese v. BP Exploration (Alaska) Inc., 643 F.3d 681, 687–88 (9th Cir. 2011); Ritz Camera & Image

                 LLC v. Sandisk Corp., 2011 WL 3957257, at *1 (N.D. Cal. Sept. 7, 2011) (certifying interlocutory

                 appeal of order denying defendants’ motion to dismiss for lack of standing); Asis Internet Servs. v.

                 Active Response Grp., 2008 WL 4279695, at *1 (N.D. Cal. Sept. 16, 2008) (same).

                         “To determine if a ‘substantial ground for difference of opinion’ exists under section 1292(b),

                 courts must examine the extent to which the controlling law is unclear.” Couch v. Telescope, Inc., 611

                 F.3d 629, 633 (9th Cir. 2010). Certification is appropriate if the appeal would involve “an issue over

                 which reasonable judges might differ[.]” Reese, 643 F.3d at 688 (internal quotation marks omitted).

                 Importantly, a “substantial ground for difference of opinion exists where reasonable jurists might

                 disagree on an issue’s resolution, not merely where they have already disagreed.” Id. (emphasis added).

                 “[N]ovel and difficult questions of first impression” generally provide “a substantial ground for

                 difference of opinion.” Id. (internal quotation marks omitted). “[F]or a question to be ‘controlling’”

                 “all that must be shown . . . is that resolution of the issue on appeal could materially affect the outcome

                 of the litigation in the district court.” In re Cement, 673 F.3d at 1026; see also Deutsche Bank Nat’l

                 Trust v. F.D.I.C., 854 F. Supp. 2d 756, 768 (C.D. Cal. 2011). Under the section 1292(b) standard,

                 interlocutory appeal is particularly appropriate where—as here—a successful appeal “would avoid

                 protracted and expensive litigation.” In re Cement, 673 F.2d at 1026 (citing U.S. Rubber Co. v. Wright,

                 359 F.2d 784, 785 (9th Cir. 1966)).

                                                          III.    ARGUMENT

                  A.     There Are Substantial Grounds For Difference of Opinion Regarding Plaintiffs’ Article
                         III Standing to Sue.
                         This Court held that Plaintiffs have Article III standing based on the alleged “disclosure of
                 [their] sensitive private information, even without further consequence[.]” Op. at 14. 1 But other courts

                 disagree, holding that Article III standing requires a showing of real-world consequences flowing from

                 the sharing of data. See, e.g., Antman v. Uber Techs., Inc., 2015 WL 6123054, at *11 (N.D. Cal. Oct.


                  1
                     The allegations in this case involve information that Facebook users shared with others on the
                 Facebook platform such as names, birthdays, education, photographs, status updates, and likes,
                 Compl. ¶ 368; Op. at 7, but does not include information such as social security numbers, credit card
                 numbers, or financial information.
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                 19, 2015) (holding there was no injury even where third party accessed plaintiffs’ “personal

                 information”); In re Google, Inc. Privacy Policy Litig., 2012 WL 6738343, at *5 (N.D. Cal. Dec. 28,

                 2012) (holding that “Plaintiffs have not identified a concrete harm”); In re iPhone Application Litig.,

                 2011 WL 4403963, at *4 (N.D. Cal. Sept. 20, 2011) (holding that plaintiffs failed to identify “what

                 harm (if any) resulted from the access or tracking of their personal information”); LaCourt v. Specific

                 Media, Inc., 2011 WL 1661532, at *5 (C.D. Cal. Apr. 28, 2011) (holding that plaintiffs failed to show

                 concrete harm “simply because their unspecified personal information was purportedly collected by a

                 third party”). Indeed, in finding that the mere disclosure of information to certain third parties was

                 sufficient to confer Article III standing in this case, this Court recognized that Facebook had “cite[d] a

                 few cases that lean in the other direction.” Op. at 15. 2
                        Three years ago, in Spokeo, Inc. v. Robins, the Supreme Court addressed the circumstances in

                 which intangible harms are sufficient to confer Article III standing to sue for statutory violations. 136

                 S. Ct. 1540, 1550 (2016). The Court emphasized that, for Article III purposes, any alleged intangible

                 harm must be “concrete” and “actually exist,” rather than being merely “abstract.” Id. at 1548-50. In

                 the wake of Spokeo, the question whether the alleged sharing of private information gives rise to Article

                 III standing has been the subject of much debate in the appellate courts, including the U.S. Supreme

                 Court and the Ninth Circuit. In Frank v. Gaos, 139 S. Ct. 1041 (2019), for example, the Supreme Court

                 addressed whether the plaintiffs had Article III standing to assert a claim under the Stored

                 Communications Act—one of the claims at issue here. The Gaos plaintiffs alleged that Google
                 improperly and without consent shared with third parties all of the plaintiffs’ private online search

                 terms, which sometimes contained sensitive personal information. Id. at 1044; see Second Am.

                 Compl., ECF No. 39 ¶ 89, No. 5:10-cv-04809-EJD (N.D. Cal. filed May 1, 2012). The United States

                 took the position that it was “unclear” whether plaintiffs’ allegations satisfied Article III because the

                 plaintiffs did not “identify any particular injury that actually resulted from Google’s conduct.” U.S.

                 Br. 14, Frank v. Gaos, Dkt. 17-961 (S. Ct. filed July 16, 2018) (emphasis added). The Supreme Court

                  2
                      Even if the Court finds these decisions unpersuasive, a “divide in the district courts’ treatment of
                 th[e] issue . . . indicates the controlling law is unclear and illustrates that fair-minded jurists are in
                 fact reaching contradictory conclusions.” McShannock v. JP Morgan Chase Bank N.A., 2019 WL
                 955289, at *2 (N.D. Cal. Feb. 27, 2019).
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                 ordered supplemental briefing on the standing issue and, at oral argument, several Justices questioned

                 whether the plaintiffs had standing. Justice Breyer, for example, asked how “there was some kind of

                 injury that would actually concretely and particularly hurt [the plaintiff] . . . [b]y somebody

                 looking . . . at Google and discovering he made those searches[.]” Oral Arg. Tr. 20:9-16 (Oct. 31,

                 2018); see also id. 17:16-25, 20:24-25, 21:1-10 (Justice Gorsuch questioning whether plaintiffs had

                 standing); id. 15:14-22 (same for Justice Kagan). The Court ultimately vacated and remanded the case

                 for the Ninth Circuit to address the standing issue—and specifically whether the plaintiffs had suffered

                 a harm that was “sufficiently concrete and particularized to support standing.” Id. at 1046. If—as the

                 Court concluded here—the mere sharing of private information was sufficient to constitute Article III

                 injury, there would have been no need for supplemental briefing or a remand. 3
                        Similarly, in Patel v. Facebook, 932 F.3d 1264 (9th Cir. 2019), the Ninth Circuit considered

                 whether Facebook’s use of facial recognition technology, allegedly in violation of the Illinois Biometric

                 Privacy Act (“BIPA”), was enough for Article III standing. In considering “whether [such] an

                 intangible injury is sufficiently concrete” for Article III purposes, the Court “consider[ed] both history

                 and legislative judgment,” id. at 1270, analyzed “the common law roots of the right to privacy,” id. at

                 1271, and ultimately concluded that the Illinois General Assembly intended “‘the statutory provisions

                 at issue’ in BIPA” “to protect an individual’s ‘concrete interests’ in privacy,” id. at 1274. As the Ninth

                 Circuit’s analysis shows, not every privacy violation is alike for Article III standing purposes, but rather

                 must be judged in the context of analogous historical harms and legislative judgment.
                        The Ninth Circuit also is considering Facebook’s petition for rehearing en banc in Patel—and

                 has taken the uncommon step of ordering a response to the petition. Order, Patel, No. 18-15982 (9th

                 Cir. Sept. 10, 2019), ECF No. 91. The petition has drawn considerable attention from amici, with four

                 separate briefs being filed to discuss the important Article III considerations raised in the case. As

                 these amici note, data privacy allegations raise important questions of Article III standing that require

                 the Ninth Circuit’s attention. The U.S. Chamber of Commerce, for example, explains that innovative

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                      Gaos also demonstrates that judicial economy weighs in favor of allowing interlocutory appeal
                 to resolve the standing issue now. Gaos was litigated for nine years before the Supreme Court or-
                 dered the remand to clarify whether the plaintiffs have Article III standing. This Court can avoid
                 similar inefficiencies and delay by allowing Facebook to take up the standing question now.
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                 companies face significant litigation risk if plaintiffs can “automatically support standing” whenever

                 the case is “arguably related to privacy absent any real-world harm.” Chamber of Commerce Br. 6;

                 see also Consumer Data Indus. Ass’n Br. 4 (arguing that whether an alleged violation of “any statute

                 that implicates privacy concerns” satisfies Article III should be decided by the full court); TechFreedom

                 Br. 5 (examining history of privacy torts and concluding that an “alleged infringement of interests in

                 controlling information available to others lacks constitutionally-required concreteness”).

                        Patel is just the latest case in which the Ninth Circuit has grappled with alleged privacy

                 violations and intangible harms. In several other cases, the Court carefully examined not only whether

                 personal information was allegedly shared, but also allegations about the type of information that was

                 shared, how it was shared, with whom it was shared, how the alleged sharing affected the plaintiffs,

                 and whether a particular statute proscribed that precise type of sharing (and why)—all of which would

                 have been unnecessary under this Court’s logic. See, e.g., Basset v. ABM Parking Servs., Inc., 883

                 F.3d 776, 780 (9th Cir. 2018); Van Patten v. Vertical Fitness Grp., LLC, 847 F.3d 1037, 1043 (9th Cir.

                 2017); Eichenberger v. ESPN, 876 F.3d 979, 983 (9th Cir. 2017). In Basset, for example, the Ninth

                 Circuit recognized that the inquiry into which privacy-based harms are sufficient for standing “can be

                 a murky one.” 883 F.3d at 782 n.2. The court held that a plaintiff whose credit card expiration date

                 was wrongfully printed on a receipt did not suffer harm and could not bring a claim under the Fair

                 Credit Reporting Act, despite the plaintiff’s attempt to portray his harm as analogous to common law

                 privacy torts. Id. at 780–83. The court focused on whether the publication of plaintiff’s personal data

                 was actually harmful to the plaintiff in the real world, id., noting that although the statute might protect

                 against “nondisclosure of a consumer’s private financial information to identity thieves,” id. at 782

                 (emphasis added), no such thief received the plaintiffs’ information, and therefore the unlawful sharing

                 of data “did not make an injury,” id. at 783. Again, if the mere sharing of personal information were

                 sufficient, the Court’s analysis would have been unnecessary.

                        The Ninth Circuit is not alone in grappling with these challenging and evolving questions of

                 data privacy standing; other federal circuit courts have “disagree[d]” when considering alleged privacy-

                 based violations and intangible injuries. Jeffries v. Volume Servs. Am., Inc., 928 F.3d 1059, 1069 (D.C.

                 Cir. 2019) (Rogers, J., concurring in part and concurring in the judgment). For example, the Third

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                 Circuit held that a plaintiff lacked standing under the Fair and Accurate Credit Transactions Act

                 (“FACTA”) where the exposure of part of the plaintiff’s credit card number did not create a cognizable

                 “invasion of privacy.” Kamal v. J. Crew Grp., Inc., 918 F.3d 102, 112, 114 (3d Cir. 2019); see also

                 Katz v. Donna Karan Co., 872 F.3d 114 (2d Cir. 2017) (same). The Eleventh Circuit, in contrast,

                 compared the same alleged violation to a common-law breach of confidence and concluded that a

                 plaintiff had standing to challenge a violation of FACTA. Muransky v. Godiva Chocolatier, Inc., 922

                 F.3d 1175, 1190–92 (11th Cir. 2019) (en banc rehearing granted). And although the Ninth Circuit held

                 that receiving unsolicited telemarketing calls or text messages constitutes an invasion of privacy suffi-

                 cient for Article III standing, Van Patten, 847 F.3d at 1043, the Eleventh Circuit expressly disagreed.

                 Salcedo v. Hanna, 936 F.3d 1162, 1167 , 1173 (11th Cir. 2019) (recipient of text messages did not have

                 standing based on alleged “invasion of Plaintiff’s privacy”). The Eleventh Circuit “look[ed] closely”

                 at the plaintiffs’ allegations, including what types of messages were received, where they were re-

                 ceived, and how plaintiffs’ lives changed because of the messages. Id. at 1173. Noting that cases may

                 “have differing outcomes depending on those inputs,” the court concluded there was no “concrete

                 harm.” Id. These “split[s] of authority” are clear indications that “fair-minded jurists might reach

                 contradictory conclusions” about whether plaintiffs claiming privacy-based injuries have Article III

                 standing. Heaton v. Social Fin., Inc., 2016 WL 232433, at *4-5 (N.D. Cal. Jan. 20, 2016). And because

                 of these unsettled questions, there is substantial ground for difference of opinion. See Salcedo, 936

                 F.3d at 1165 (appeal under Section 1292(b)).

                        Indeed, for many years, courts examining alleged data breaches have analyzed Article III

                 standing by examining whether any real-world consequences resulted from the breach. See, e.g., In re

                 Zappos.com, Inc., 888 F.3d 1020, 1025–26 (9th Cir. 2018) (finding standing where plaintiffs whose

                 credit card numbers were taken in data breach were at imminent risk of identity theft and had already

                 suffered financial losses); Beck v. McDonald, 848 F.3d 262, 275 (4th Cir. 2017) (disclosure of

                 information on laptop and pathology reports, “without more, cannot confer Article III standing”);

                 Hancock v. Urban Outfitters, Inc., 830 F.3d 511, 514 (D.C. Cir. 2016) (no standing for consumer

                 protection claim based solely on alleged disclosure of zip code “without any concrete consequence”);

                 Dugas v. Starwood Hotels & Resorts Worldwide, Inc., 2016 WL 6523428, at *6 (S.D. Cal. Nov. 3,

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                 2016) (noting that plaintiffs did not face any “credible” harm because the type of information stolen

                 was “far more limited” than other cases). If Article III standing were satisfied by third parties gaining

                 allegedly unauthorized access to the plaintiff’s data—regardless of the real-world consequences of such

                 access—all of these analyses would have been unnecessary.

                                                                  * * *

                         Facebook understands that this Court disagrees with Facebook’s analysis of Spokeo and the

                 Article III jurisprudence set forth above. But there can be no dispute that these important and evolving

                 data privacy issues are the subject of substantial attention and disagreement among the nation’s courts.

                 Facebook respectfully requests that this Court give the Ninth Circuit a chance to address these

                 important issues before proceeding with this litigation.

                  B.      The Order Raises Controlling Questions of Law, Resolution of Which Will Materially
                          Advance the Litigation’s Ultimate Termination.
                         “Whether Plaintiffs have standing to bring the case is a controlling question of law.” Asis

                 Internet Servs., 2008 WL 4279695, at *3 (citing Coquillette et al., 19 Moore’s Federal Practice 3d

                 § 203.31(2); U.S. ex rel. Madden v. Gen. Dynamics Corp., 4 F.3d 827, 829 (9th Cir. 1993)); see also

                 Ritz Camera, 2011 WL 3957257, at *1–2. Standing is a threshold question in every federal case,

                 McMichael v. Napa Cty., 709 F.2d 1268, 1269 (9th Cir. 1983), and resolution of the issue of standing

                 would “materially affect the outcome of the litigation,” In re Cement, 673 F.2d at 1026, by determining

                 whether Plaintiffs are entitled to pursue their claims at all. See Wilton Miwok Rancheria v. Salazar,

                 No. 07-cv-2681, 2010 WL 693420, at *12 (N.D. Cal. Feb. 23, 2010) (finding a “controlling question

                 of law” where “dismissal is required” if the party seeking certification was correct). Resolution of this

                 controlling issue does not depend on any factual disputes between the parties and can be resolved on
                 the basis of the pleadings alone.

                         An interlocutory appeal on the question of Plaintiffs’ standing will “materially advance the

                 ultimate termination of the litigation,” because it is “a question which would be dispositive of the

                 litigation.” U.S. Rubber Co., 359 F.2d at 784, 785 n.2. If the Ninth Circuit agrees that Plaintiffs have

                 not suffered a cognizable injury-in-fact based on an alleged intangible “privacy injury,” that ruling will

                 end the case. For this reason, district courts have held that standing and jurisdictional questions—such


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                 as those at issue here—are appropriate for certification under section 1292(b). See, e.g., Hawaii ex rel.

                 Louie v. JP Morgan Chase & Co., 921 F. Supp. 2d 1059, 1068 (D. Haw. 2013) (certifying question of

                 federal jurisdiction for interlocutory appeal); Wilton Miwok Rancheria, 2010 WL 693420, at *13

                 (certifying question of subject matter jurisdiction for interlocutory appeal); Ritz Camera, 2011 WL

                 3957257, at *3 (certifying standing question for interlocutory appeal); Asis Internet Servs., 2008 WL

                 4279695, at *3 (same).

                        Considerations of judicial economy weigh strongly in favor of resolving the disputed standing

                 issue now. With potentially expansive discovery on the horizon in a multidistrict litigation of this size

                 and scope, the opportunity to resolve the threshold issue of standing presents an “exceptional situation[]

                 in which allowing an interlocutory appeal would avoid protracted and expensive litigation,” and would

                 save the parties and the Court “the time, effort, [and] expense of conducting a lawsuit.” In re Cement,

                 673 F.2d at 1026–27 (citations omitted); Ritz Camera, 2011 WL 3957257, at *3 (finding interlocutory

                 appeal of standing issue appropriate to “avoid expensive and protracted discovery”). Under these

                 circumstances, “on balance certification would further rather than frustrate resolution of the underlying

                 dispute.” Ritz Camera, 2011 WL 395 7257, at *3.

                                                         IV.     CONCLUSION

                        Because an immediate appeal will resolve important questions of Article III standing that will

                 materially advance the ultimate termination of the litigation, and as to which there are substantial

                 grounds for difference of opinion, Facebook respectfully requests that this Court certify its Order for

                 interlocutory appeal pursuant to 28 U.S.C. § 1292(b).




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                 DATE: October 8, 2019                Respectfully submitted,

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